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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA                 1           CR No.     0C - C*c':C.7ci - i-
                                         1
            v.                                       INFORMATION
                                         )
KEVIN TUBBS, aka "Bob" and "Dog",        )           [18 U.S.C. fjtj 371, 844(f), 844(i),
                                         1           1366(a) and 21
                   Defendant.


                  THE UNITED STATES ATTORNEY CHARGES:

                                       COUNT 1

 CONSPIRACY TO COMMIT ARSON AND DESTRUCTION OF ENERGY FACILITY

I.    OBJECT OF THE CONSPIRACY

     Beginning in October 1996 and continuing through October 2001, in the District of

Oregon and elsewhere, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS,

STANISLAS GREGORY MEYERHOFF, DANIEL GERARD McGOWAN, JOSEPH DIBEE,

REBECCA RUBIN, CHELSEA DAWN GERLACH, KENDALL TANKERSLEY, SUZANNE

SAVOIE, JONATHAN CHRISTOPHER MARK PAUL, DARREN TODD THURSTON,

NATHAN FRASER BLOCK, and JOYANNA L. ZACHER, and unindicted co-conspirators




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JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS, and others, willfully and

knowingly conspired iind agreed to commit the following offenses against the United States:

       to maliciously damage or destroy, or attempt to damage or destroy, by means of

       fire or an explosive, any building, vehicle or other personal or real property in

       whole or in part owned or possessed by, or leased to, the United States or any

       department or agency thereof, in violation of Title 18, United States Code, Section

       844(f)(l);

       to maliciously damage or destroy, or attempt to damage or destroy, by means of

       fire or an explosive, any building, vehicle or other real or personal property used

       in interstate commerce or in any activity affecting interstate commerce, in

       violation of Title 18, United States Code, Section 844(i); and

       to knowingly and willfully damage and attempt to damage the property of an energy

facility of the United States involved in the transmission and distribution of electricity, in

an amount exceeding or which would have exceeded $100,000, in violation of Title 18,

United States Code, Section 1366(a).

11.    MANNER AND MEANS OF THE CONSPIRACY

       The foregoing objects of the conspiracy were to be accomplished in the following manner

and means by the above-listed defendants and others at various times during the course of the

conspiracy:

        1.       Certain of the defendants and others joined together in a group they called the

"Family." This "Family" was what is commonly known as a "cell" of groups and movements




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publicly named and described by certain of the defendants and others as the Earth Liberation

Front (ELF), the Animal Liberation Front (ALF), and other names.

       2.       The general purposes of the conspiracy were to influence and affect the conduct of

government, commerce, private business and others in the civilian population by means of force,

violence, sabotage, mass destruction, intimidation and coercion, and by similar means to retaliate

against the conduct of government, commerce and private business. To achieve these purposes,

the conspirators committed and attempted to commit acts dangerous to human life and property

that constituted violations of the criminal laws of the United States and of individual states.

       3.       Certain of the defendants and others targeted for arson buildings, vehicles and

other real and personad property owned, possessed, and leased by the United States and its

departments and agencies.

       4.       Certain of the defendants and others targeted for arson buildings, vehicles and

other real and personal property used in interstate commerce and in activities affecting interstate

commerce.

       5.       Certain of the defendants and another person targeted for willful damage an

energy facility of the United States involved in the transmission and distribution of electricity, in

an amount exceeding or which would have exceeded $100,000.

       6.       Certain of the defendants and others conducted and participated in meetings to

plan arsons and other damage of the targeted sites. Several of these meetings were called "Book

Club" meetings by the defendants and others and occurred at distant locations. The "Book Club"

meetings covered sub,jects such as lock-picking, computer security, encrypted messaging,




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reconnaissance of targets, and manufacture of timing devices to initiate improvised incendiary

devices.

       7.       Certain of the defendants and others conducted research and surveillance of sites

targeted for arson and other damage.

       8.       In discussing their actions among themselves, certain of the defendants and others

used code words, code names, and nicknames.

       9.       Certairi of the defendants and others designed and constructed destructive devices

which functioned as incendiary bombs to ignite fires and destroy the targets.

       10.      Certairi of the defendants and others provided transportation to the sites targeted

for arson and other damage.

       11.      Certain of the defendants and others dressed in dark clothing, wore masks and

gloves and otherwise disguised their appearance.

       12.      Certairi of the defendants and others acted as "lookouts" to ensure secrecy as the

crimes were carried out.

       13.      Certain of the defendants and others placed destructive devices and accelerants at

sites targeted for arson and ignited or attempted to ignite the devices and accelerants.

       14.      Certain of the defendants and others, by means of fire and explosives, maliciously

damaged and destroyed, and attempted to damage and destroy, buildings, vehicles and other real

and personal property owned and possessed by the United States and its departments and

agencies.

       15.     Certain of the defendants and others, by means of fire and explosives, maliciously




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damaged and destroyetd, and attempted to damage and destroy, buildings, vehicles and other real

and personal property used in interstate commerce and in activities affecting interstate

commerce.

       16.      Certain of the defendants and another person willfully damaged and attempted to

damage the property of an energy facility of the United States involved in the transmission and

distribution of electricity, in an amount exceeding or which would have exceeded $100,000.

       17.     In some of the arsons and attempted arsons, certain of the defendants and others

painted messages on the walls of the targets, including "Earth Liberation Front," "ELF" and

related names and statements concerning the purposes of the crimes.

       18.     After the arsons, attempted arsons and other crimes, certain of the defendants and

others provided transportation away from the scenes of the crimes.

       19.     After the arsons, attempted arsons and other crimes, certain of the defendants and

others destroyed, buried, hid and otherwise disposed of physical evidence used in the

commission of the crimes.

       20.     After the arsons, certain of the defendants and others publicized and promoted the

results of the fires by means of written press releases and communiques attributing the arsons to

the Earth Liberation Front (ELF), the Animal Liberation Front (ALF) and related groups, and

stating the purposes of the arsons.

       21.     Before, during and after the arsons, attempted arsons and other crimes, certain of

the defendants and others agreed and took an oath among themselves never to reveal to law

enforcement authorities or to anyone else outside "the Family" the identity of the conspirators

and participants in the arsons, attempted arsons and other crimes.


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          22.      Before, during and after the arsons, attempted arsons and other crimes, certain of

the defendants and others agreed among themselves to conceal or destroy any evidence

connecting them to the arsons, attempted arsons and other crimes.

          23.      Before, during and after the arsons, attempted arsons and other crimes, certain of

the defendants and others possessed andlor used false identification documents in order ,to

conceal their true identities.

          24.      After the arsons, attempted arsons and other crimes, certain of the defendants and

others fled and secreted themselves in foreign countries in order to avoid detection and arrest by

law enforcement authorities in the United States.

111.      OVERT ACTS

          In order to canry out the objects of the conspiracy, defendants and other persons

committed various overt acts within the District of Oregon and elsewhere, including but not

limited to the following:

          1.       On or about October 28, 1996, in Marion County, Oregon, defendant JOSEPHINE

SUNSHINE OVERAKER and JACOB JEREMIAH FERGUSON unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the attempt to damage

or destroy, by means of fire and an explosive, a building and other real and personal property

owned and possessed by the United States and the United States Forest Service of the

Department of Agriculture, located at the Detroit Ranger Station on the Willamette National

Forest.




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       la.      At a time prior to October 28, 1996, defendant JOSEPHINE SUNSHINE

OVERAKER and JACOB JEREMIAH FERGUSON prepared and tested a time-delayed

incendiary device.

       1b.      On or about October 28, 1996, defendant JOSEPHINE SUNSHINE OVERAKER

and JACOB JEREML4H FERGUSON drove to the U.S. Forest Service Detroit Ranger Station in

Marion County, Oregon, with an incendiary device which was placed on the roof of a U.S. Forest

Service building. That incendiary device failed to function.

       1c.      On or about October 28, 1996, defendant JOSEPHINE SUNSHINE OVERAKER

spray-painted graffiti on the sides of a U.S. Forest Service building and vehicles which included

the words "Earth Liberation Front."

       2.       On or about October 28, 1996 in Marion County, Oregon, defendant JOSEPHINE

SUNSHINE OVERAKER and JACOB JEREMIAH FERGUSON unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of a fire and an explosive, a vehicle and other real and

personal property owned and possessed by the United States and the United States Forest Service

of the Department of ,4griculture, located at the Detroit Ranger Station on the Willamette

National Forest.

       2a.      On or about October 28, 1996, defendant JOSEPHINE SUNSHINE OVERAKER

and JACOB JEREML4H FERGUSON intended and caused fire damage to a U.S. Forest Service

vehicle.

       3.       On or about October 30, 1996, in Lane County, Oregon, defendants JOSEPHINE

SUNSHINE OVERAKER, KEVIN TUBBS, and JACOB JEREMIAH FERGUSON unlawfully


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and willfully caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of a building and other

real and personal property owned and possessed by the United States and the United States

Forest Service of the Department of Agriculture, located at the Oakridge Ranger Station on the

Willamette National Forest.

       3a.      On or about October 30, 1996, in Lane County, Oregon, defendants JOSEPHINE

SUNSHINE OVERAKER, KEVIN TUBBS, and JACOB JEREMIAH FERGUSON drove to the

U.S. Forest Service Oakridge Ranger Station, and set fire to the Ranger Station.

       3b.      On or iibout October 30, 1996, in Lane County, Oregon, defendants JOSEPHINE

SUNSHINE OVERAKER, KEVIN TUBBS, and JACOB JEREMIAH FERGUSON, while

leaving the parking lot of the U.S. Forest Service Oakridge Ranger Station, threw nails onto the

parking lot in order to slow down responding emergency vehicles.

       3c.      On or about October 30, 1996, in Lane County, Oregon, defendants JOSEPHINE

SUNSHINE OVERAKER, KEVIN TUBBS, and JACOB JEREMIAH FERGUSON, while

leaving the U.S. Forest Service Oakridge Ranger Station and driving westbound on Highway 58

towards Eugene, Oregon, discarded their gloves in a reservoir near the Lowell Bridge.

       4.       On or about July 2 1, 1997, at Redmond, Deschutes County, Oregon, defendants

KEVIN TUBBS, JOSEPH DIBEE, JONATHAN CHRISTOPHER MARK PAUL, JENNIFER

KOLAR, and JACOB, JEREMIAH FERGUSON unlawfully and willfully caused and aided,

abetted, counseled, commanded, induced, and procured the malicious damaging and destroying,

by means of fire and an explosive, of a building and other real and personal property used in




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interstate commerce and in activities affecting interstate commerce, at Cavel West, Inc., 1607 SE

Railroad, Redmond, Oregon.

       4a.     Approximately one week prior to the July 2 1, 1997 arson at Cavel West, Inc.,

defendants KEVIN TUBBS, JONATHAN CHRISTOPHER MARK PAUL, JOSEPH DIBEE,

and JACOB JEREMLW FERGUSON went on a reconnaissance in order to locate a staging area

where the participants could complete final preparations prior to committing the arson.

       4b.     Prior to the July 21, 1997 arson at Cavel West Inc., defendants JONATHAN

CHRISTOPHER MARK PAUL, and JENNIFER KOLAR prepared a mixture of soap and

petroleum products which was the fuel used in the time-delayed incendiary devices.

       4c.     On or about July 2 1, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE,

JONATHAN CHRISTOPHER MARK PAUL, JENNIFER KOLAR, and JACOB JEREMIAH

FERGUSON drove to the previously chosen staging area near Cavel West, Inc., and upon arrival

dressed in dark clothing, masks, and gloves, and dug a hole at the staging area in which to bury

their dark clothing upon completion of the arson.

       4d.     On or about July 21, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE,

JONATHAN CHRISTOPHER MARK PAUL, JENNIFER KOLAR, and JACOB JEREMIAH

FERGUSON completed a two-way radio check with one another and confirmed their scanner

and radios functioned properly.

       4e.     On or about July 21, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE,

JONATHAN CHRISTOPHER MARK PAUL, JENNIFER KOLAR, and JACOB JEREMIAH

FERGUSON went to the location of Cavel West, Inc., to place time-delayed incendiary devices

on and about that 1oca.tion.


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       4f.     On or about July 2 1, 1997, defendant JOSEPH DIBEE drilled holes through the

wall of the Cavel West, Inc. facility so as to allow fuel to be poured directly into the building.

       4g.     On or about July 21, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE,

JONATHAN CHRISTOPHER MARK PAUL, JENNIFER KOLAR, and JACOB JEREMIAH

FERGUSON, upon placing the time-delayed incendiary devices at Cavel West, Inc., traveled

back to the staging area, removed their dark clothes and shoes, placed them in the hole, poured

acid on the clothing in the hole and then buried the items.

       4h.     On or about July 26, 1997, certain defendants in the Cavel West arson issued a

written communique attributing the fire to the Animal Liberation Front (ALF) and the Equine

and Zebra Liberation Front. The communique was publicized by Craig Rosebraugh of the

Liberation Collective in Portland, Oregon.

        4i.     Appro ~imatelythree years after July 2 1, 1997, defendant JOSEPH DIBEE and

JENNIFER LYNN KlOLAR contacted defendant KEVIN TUBBS and told KEVIN TUBBS to

return to the staging area and retrieve the buried clothes.

        5.      On or (aboutNovember 30, 1997, in Harney County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, JACOB JEREMIAH FERGUSON,

REBECCA RUBIN, and unindicted co-conspirator WILLIAM C. RODGERS unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of buildings and other real and

personal property owned and possessed by the United States and the Bureau of Land

Management of the Dlepartment of the Interior, located at the Wild Horse and Burro Facility,

Bums, Hamey County, Oregon.


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       5a.     Approximately three months prior to November 30, 1997, defendants

JOSEPHINE SUNSHNE OVERAKER, JACOB JEREMIAH FERGUSON, KEVIN TUBBS,

and unindicted co-conspirator WILLIAM C. RODGERS did a reconnaissance at and near the

Wild Horse and Burro Facility, to prepare themselves for the arson and horse release.

       5b.        Sometime prior to November 30,1997, defendant JOSEPHINE SUNSHINE

OVERAKER and JACOB JEREMIAH FERGUSON obtained five-gallon, white plastic buckets

and the fuel to be used in making time-delayed incendiary devices.

       5c.        Sometime prior to November 30, 1997, persons known and unknown to the Grand

Jury prepared the five-gallon plastic buckets by wiping the buckets to ensure all fingerprints were

removed, and painted them with black spray paint.

       5d.        Sometime prior to November 30, 1997, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS, JACOB JEREMIAH FERGUSON, REBECCA RUBIN, and

unindicted co-conspirator WILLIAM C. RODGERS obtained additional components and

assembled time-delayed incendiary devices, which were composed of kitchen timers, matches,

sponges, model rocket igniters, one-gallon jugs filled with fuel and five-gallon buckets which

contained fuel.

       5e.        On or about November 30, 1997, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS, JACOB JEREMIAH FERGUSON, REBECCA RUBIN, and

unindicted co-conspirator WILLIAM C. RODGERS arrived at the Wild Horse and Burro

Facility, cut the lock on the front gate, released horses and burros, placed time-delayed incendiary

devices in and around the facility and left the area.




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       5f.     On or about December 5, 1997, certain defendants in the Wild Horse and Burro

Facility arson issued a. communique attributing the fire and horse release to the Earth Liberation

Front (ELF) and the Aaimal Liberation Front (ALF). The communique was publicized by Craig

Rosebraugh of the Liberation Collective in Portland, Oregon.

       6.      On or about June 2 1, 1998, at Olympia, Washington, in the Western District of

Washington, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, JACOB

JEREMIAH FERGUSON, JOSEPH DIBEE, and unindicted co-conspirator WILLIAM C.

RODGERS willfully caused and aided, abetted, counseled, commanded, induced, and procured

the malicious damaging and destroying, by means of fire and an explosive, of a building and

other real and personal property leased and possessed by the United States and the Animal, Plant

and Health Inspection Service (APHIS) of the Department of Agriculture, located at the National

Wildlife Research Fadity, 9701 Blomberg Street SW, Olympia, Washington.

       6a.     Approximately two weeks before June 2 1, 1998, defendants KEVIN TUBBS,

JOSEPH DIBEE, and unindicted co-conspirator JACOB JEREMIAH FERGUSON met in

Olympia, Washington, to discuss plans for the APHIS arson, and agreed at that time there would

be a second and simultaneous arson committed when the APHIS arson was to occur.

       6b.     At a tirne prior to June 2 1, 1998, defendant JOSEPHINE SUNSHINE

OVERAKER and unindicted co-conspirator JACOB JEREMIAH FERGUSON prepared five-

gallon buckets by wip-ingthe buckets to remove any fingerprints, and obtained fuel for the

APHIS arson.

       6c.     At a tirne prior to June 21, 1998, defendant KEVIN TUBBS utilized false

identification to acquire a van which was used in the APHIS arson.


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          6d.   On or about June 2 1, 1998, defendant JOSEPHINE SUNSHINE OVERAKER,

while attempting to stleal items in preparation for the APHIS arson, was arrested by authorities

for shoplifting.

          6e.   On or about June 21, 1998, defendant KEVIN TUBBS and JACOB JEREMIAH

FERGUSON transferred five-gallon buckets of fuel to be used in the APHIS arson from a van

purchased by KEVIN TUBBS to a vehicle owned by unindicted co-conspirator WILLIAM C.

RODGERS.

          6f.   On or about June 21, 1998, defendant KEVIN TUBBS and unindicted co-

conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS drove to the

APHIS facility and placed five-gallon buckets filled with fuel at locations at and around the

facility, and ignited the fuel-filled buckets by hand.

          6g.   On or about June 22, 1998, certain defendants in the APHIS arson issued a

communique attributing the fire to the Earth Liberation Front (ELF) and the Animal Liberation

Front (ALF). The cornmunique was publicized by Katie Fedor of the North American ALF Press

Office.

          6h.   At a time after June 22, 1998, defendant KEVIN TLBBS assisted in the disposal

of the van used in the APHIS arson.

          7.    In about September 1998, at Rock Springs, Wyoming, in the District of Wyoming,

defendants KEVIN TIJBBS, REBECCA RUBIN, and unindicted co-conspirators JACOB

JEREMIAH FERGUSON, WILLIAM C. RODGERS, and others, unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the attempt to damage

or destroy, by means of fire and an explosive, a building and other real and personal property


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owned and possessed by the United States and the Bureau of Land Management of the

Department of the Inttxior, located at the Wild Horse Holding Facility, Rock Springs, Wyoming.

       7a.     In or about September 1998, defendants KEVIN TUBBS, REBECCA RUBIN,

and unindicted co-conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS

arrived at the staging iuea near Rock Springs, Wyoming, assigned roles, prepared time-delayed

incendiary devices, and made preparations for the arson, when a law enforcement officer made

inquiry as to their presence at that location.

       7b.     In or about September, 1998, defendants KEVIN TUBBS, REBECCA RUBIN,

and unindicted co-conspirators JACOB JEREMIAH FERGUSON, WILLIAM C. RODGERS,

and others, buried the time-delayed incendiary devices in an attempt to avoid detection.

        8.      On or about October 11, 1998, at Rock Springs, Wyoming, in the District of

Wyoming, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS

GREGORY MEYERI-IOFF, REBECCA RUBIN, CHELSEA DAWN GEFUACH, and

unindicted co-conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the attempt to damage and destroy, by means of fire and an explosive, buildings and

other real and personal property owned and possessed by the United States and the Bureau of

Land Management of the Department of the Interior, located at the Wild Horse Holding Facility,

Rock Springs, Wyoming.

       8a.     On or about October 11, 1998, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, REBECCA RUBIN,

CHELSEA DAWN GEFUACH, and unindicted co-conspirators JACOB JEREMIAH


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FERGUSON and WILLIAM C. RODGERS brought digital timers, containers of fuel, two-way

radios and a scanner, to a staging area near the Wild Horse Holding Facility.

       8b.     On or about October 11, 1998, at Rock Springs, Wyoming, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF, REBECCA RUBIN, CHELSEA DAWN GERLACH, and unindicted co-

conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS went to the Wild

Horse Holding Facility, and began the release of horses and the placing of incendiary devices in

and about the facility.

       8c.     On or about October 11, 1998, at Rock Springs, Wyoming, defendants

JOSEPHINE SUNSHNE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF, REBECCA RUBIN, CHELSEA DAWN GERLACH, and unindicted co-

conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS hid timing

devices in large rock out-croppings near the Wild Horse Holding Facility, after hearing on their

scanner that police had been dispatched to their location.

       8d.     On or about November 13, 1998, certain defendants in the Wild Horse Holding

Facility attempted arson issued a statement attributing responsibility for the horse release and

attempted arson to the Animal Liberation Front (ALF).

       9.      On or a.bout October 19, 1998, in Eagle County, Colorado, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF, REBECCA RUBIN, CHELSEA DAWN GERLACH, and unindicted co-

conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious


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damaging and destroying, by means of fire and explosives, of buildings and other real and

personal property used in interstate commerce and in activities affecting interstate commerce, at

the Vail Ski Facility.

        9a.     On or about October 21, 1998, certain defendants in the Vail arson issued a

communique attributing the fire to the Earth Liberation Front (ELF).

        10.     On or about December 22, 1998, at Medford, Jackson County, Oregon, defendants

KENDALL TANKERSLEY, KEVIN TUBBS, REBECCA RUJIN, and unindicted co-

conspirator JACOB J:EREMIAH FERGUSON unlawfully and willfully caused and aided,

abetted, counseled, commanded, induced, and procured the attempt to damage or destroy, by

means of fire and an explosive, a building and other real and personal property used in interstate

commerce and used in activities affecting interstate commerce, namely, an office building and its

contents at U.S. Forest Industries, 261 1 Whittle Avenue, Medford, Jackson County, Oregon.

        10a.    A few weeks prior to December 22, 1998, defendants KENDALL

TANKERSLEY, KEVIN TUBBS, REBECCA RUBIN, and unindicted co-conspirator JACOB

JEREMIAH FERGUSON performed a reconnaissance and "dry run" for the arson at the U.S.

Forest Industries building in Medford, Oregon.

        lob.    On or about December 22, 1998, at Medford, Jackson County, Oregon, defendants

KENDALL TANKEFSLEY, KEVIN TUBBS, REBECCA RUBIN, and unindicted co-

conspirator JACOB JEREMIAH FERGUSON placed time-delayed incendiary devices at and

about the U.S. Forest Industries building.

        10c.    Prior to December 27, 1998, after placement of the time-delayed incendiary

devices at the U.S. Forest Industries building, defendant KENDALL TANKERSLEY and


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unindicted co-conspirator JACOB JEREMIAH FERGUSON searched the media and found no

mention of the burniqg of the U.S. Forest Industries building.

        10d.    Between December 22 and 27, 1998, defendant KENDALL TANKERSLEY and

another person returned to the U.S. Forest Industries building to check on the destructive devices.

        11.     On or about December 27, 1998, at Medford, Jackson County, Oregon, defendant

KENDALL TANKERSLEY and unindicted co-conspirator JACOB JEREMIAH FERGUSON

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and per:sonal property used in interstate commerce and used in activities affecting

interstate commerce, namely, an office building and its contents at U.S. Forest Industries, 261 1

Whittle Avenue, Medford, Jackson County, Oregon.

        11a.    On or about December 27, 1998, defendant KENDALL TANKERSLEY and

unindicted co-conspirator JACOB JEREMIAH FERGUSON returned to the U.S. Forest

Industries building, placed a new time-delayed incendiary device at or about the building, and left

the area.

        1lb.    On or about December 27, 1998, defendant KENDALL TANKERSLEY and

unindicted co-conspirator JACOB JEREMIAH FERGUSON traveled to Dunsmuir, California, to

avoid detection.

        1lc.    On or about December 27, 1998, defendant KENDALL TANKERSLEY

registered under the fa.lse name of Teresa Capelli in the Cedar Lodge Motel in Dunsmuir,

California.




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       1ld.    On or about January 16, 1999, certain defendants in the U.S. Forest Industries

arson issued a communique attributing the fire to the Earth Liberation Front (ELF). The

communique was pubslicized by Craig Rosebraugh of the Liberation Collective in Portland,

Oregon.

        12.    On or about May 9, 1999, at Eugene, Lane County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF, CHELSEA DAWN GERLACH, and unindicted co-conspirator JACOB

JEREMIAH FERGUSON, and others, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property used in interstate

commerce and in activities affecting interstate commerce, at Childers Meat Company, 29476

Airport Road, Eugene, Lane County, Oregon.

       12a.    On or about May 9, 1999, defendants JOSEPHINE SUNSHINE OVERAKER,

KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, CHELSEA DAWN GERLACH,

and unindicted co-conspirator JACOB JEREMIAH FERGUSON and another prepared five-

gallon buckets, timers and fuel for the arson which was to occur at the Childers Meat Company,

Eugene, Oregon.

       12b.    On or about May 9, 1999, defendants JOSEPHINE SUNSHINE OVERAKER,

KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, CHELSEA DAWN GERLACH, and

unindicted co-conspir,ator JACOB JEREMIAH FERGUSON and another traveled to the Childers

Meat Company and placed one time-delayed incendiary device near the front of the office

building and placed another such device at the back of the building near a gas meter.


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       12c.    On or about May 27, 1999, certain defendants in the Childers arson issued a

communique attributiing the fire to the Animal Liberation Front (ALF). The communique was

publicized by the ALE; Frontline Information Service.

       13.     On or about December 25, 1999, at Monmouth, Polk County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, STANISLAS GREGORY MEYERHOFF, CHELSEA

DAWN GERLACH, and unindicted co-conspirator JACOB JEmMIAH FERGUSON

unlawfully and willfullly caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and in activities affecting

interstate commerce, at the Boise Cascade Office, 450 North Pacific Avenue, Monmouth, Polk

County, Oregon.

       13a.    On or about December 25, 1999, defendants JOSEPHINE SUNSHINE

OVERAKER, STANISLAS GREGORY MEYERHOFF, CHELSEA DAWN GERLACH, and

unindicted co-conspirator JACOB JEREMIAH FERGUSON prepared time-delayed incendiary

devices to be used at the Boise Cascade Office, and, after disguising the devices by wrapping

them in Christmas paper, transported the devices to the Boise Cascade Office location.

       13b.    On or about December 25, 1999, at Monmouth, Polk County, Oregon, defendants

JOSEPHINE SUNSHNE OVERAKER, STANISLAS GREGORY MEYERHOFF, CHELSEA

DAWN GERLACH, and unindicted co-conspirator JACOB JEREMIAH FERGUSON placed

time-delayed incendiary devices at and about the Boise Cascade Office building and left the area.

       13c.    On or about December 30, 1999, certain defendants in the Boise Cascade arson

issued a communique attributing the fire to the Earth Liberation Front (ELF). The communique


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was publicized by Craig Rosebraugh of the Liberation Collective in Portland, Oregon, and the

North American ELF Press Office.

       14.     On or about December 30, 1999, in Deschutes County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, STANISLAS GREGORY MEYERHOFF, CHELSEA

DAWN GERLACH, and unindicted co-conspirator JACOB JEREMIAH FERGUSON willfully

damaged and attempted to damage the property of an energy facility of the United States, namely,

a Bonneville Power Administration tower, involved in the transmission and distribution of

electricity near the City of Bend, Oregon, in an amount exceeding or which would have exceeded

$100,000.

        15.     During 2000 and 2001, several of the defendants and others met in what the

participants called "Book Club" meetings. These meetings occurred in Eugene, Oregon; Tucson,

Arizona; Santa Cmz, California; and Sisters, Oregon. The participants conducted classes at these

meetings in clandestine methods of committing direct actions, including the manufacture of

mechanical and electrical timing devices for setting off improvised incendiary devices,

reconnaissance of targets, lock-picking, and computer security.

        16.      On or about September 6, 2000, at Eugene, Lane County, Oregon, defendants

STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS and CHELSEA DAWN GERLACH

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and in activities affecting

interstate commerce, at the Eugene Police Department West University Public Safety Station,

79 1 East 13thAvenue, Eugene, Oregon.


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       16a.    On or about September 6,2000, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS and CHELSEA DAWN GERLACH traveled to the Eugene

Police Department West University Public Safety Station and placed time-delayed incendiary

devices at and about the police station.

       17.     On or about January 2, 200 1, at Glendale, Douglas County, Oregon, defendants

STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN,

SUZANNE SAVOIE.,and unindicted co-conspirator JACOB JEREMIAH FERGUSON

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and used in activities affecting

interstate commerce, namely, a building and its contents located at Superior Lumber Company,

2695 Glendale Valley Road, Glendale, Douglas County, Oregon.

        17a.   On or about January 2,200 1, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN, SUZANNE SAVOIE, and

unindicted co-conspir,ator JACOB JEREMIAH FERGUSON traveled in separate vehicles to a

predetermined staging, area at a rest area located just north of the town of Glendale, Oregon, on

Interstate 5, where they dressed in dark clothing and put on their radio earpieces and masks.

        17b.   On or about January 2,200 1, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN, SUZANNE SAVOIE, and

unindicted co-conspirator JACOB JEREMIAH FERGUSON traveled to the Superior Lumber

Company building, set up lookouts, positioned the "pick-up" vehicle, placed the time-delayed

incendiary devices, and returned to the staging area.


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       17c.    On or about January 2,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN, SUZANNE SAVOIE, and

unindicted co-conspirator JACOB JEREMIAH FERGUSON, upon returning to the staging area,

changed their clothing and disposed of their dark clothing.

       17d.    On or about January 6,2001, certain defendants in the Superior Lumber Company

arson issued a communique attributing the fire to the Earth Liberation Front (ELF). The

communique was publicized by Craig Rosebraugh of the North American ELF Press Office.

       18.     On or about March 30, 2001, at Eugene, Lane County, Oregon, defendants

STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, NATHAN FRASER BLOCK,

JOYANNA L. ZACHER, and unindicted co-conspirator WILLIAM C. RODGERS, unlawfully

and willfully caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of vehicles and other

personal property used in interstate commerce and in activities affecting interstate commerce, at

Joe Romania Chevrolet Truck Center, 1425 Walnut Street, Eugene, Oregon.

       18a.    On or about March 30,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, NATHAN FRASER BLOCK, JOYANNA L. ZACHER, and

unindicted co-conspirator WILLIAM C. RODGERS traveled to Joe Romania Chevrolet Truck

Center and stationed KEVIN TUBBS and JOYANNA L. ZACHER as lookouts, while the others

placed an incendiary device and plastic containers filled with gasoline underneath the vehicles

and connected the vehicles and containers with rolled-up sheets soaked in gasoline.




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       18b.     On or about March 3 1,2001, certain defendants in the Romania Chevrolet arson

issued a communique which was publicized by Craig Rosebraugh of the North American ELF

Press Office.

       19.      On or about May 21,2001, at Clatskanie, Columbia County, Oregon, defendants

STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN,

CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L. ZACHER,

SUZANNE SAVOIE.,and unindicted co-conspirator WILLIAM C. RODGERS unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of buildings, vehicles and other real

and personal property used in interstate commerce and in activities affecting interstate

commerce, at Jefferson Poplar Farm, 791 14 Collins Road, Clatskanie, Columbia County,

Oregon.

       19a.     At a tirne prior to May 21,2001, defendants STANISLAS GREGORY

MEYERHOFF, NATHAN FRASER BLOCK, JOYANNA L. ZACHER, CHELSEA DAWN

GERLACH, DANIEL GERARD McGOWAN, and unindicted co-conspirator WILLIAM C.

RODGERS participated in a meeting in which it was decided by those present that two arsons

would be carried out at the same time, one at the Jefferson Poplar Farm in Clatskanie, Oregon,

and the other at the University of Washington Horticulture Center in Seattle, Washington.

       19b.     At a tirne prior to May 2 1,2001, defendants STANISLAS GREGORY

MEYERHOFF, CHELSEA DAWN GERLACH, DANIEL GERARD McGOWAN, KEVIN

TUBBS, SUZANNE SAVOIE, and unindicted co-conspirator JACOB JEREMIAH FERGUSON

performed a reconnaissance for the arson at the Jefferson Poplar Farm.


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       19c.    On or about May 2 1,2001, defendants STANISLAS GREGORY MEYERHOFF,

DANIEL GERARD PVlcGOWAN, NATHAN FRASER BLOCK, JOYANNA L. ZACHER, and

SUZANNE SAVOIE traveled to Jefferson Poplar Farm.

       19d.    On or about May 2 1,2001, defendants STANISLAS GREGORY MEYERHOFF,

DANIEL GERARD McGOWAN, NATHAN FRASER BLOCK, and JOYANNA L. ZACHER

placed time-delayed incendiary devices at several locations at and around the facility, with one of

the locations being adjacent to a large propane gas tank.

        19e.   On or about May 2 1,2001, certain defendants in the Jefferson Poplar Farm arson

spray-painted graffiti at the site attributing the action to the Earth Liberation Front (ELF).

        19f.   On or about June 1,2001, certain defendants in the Jefferson Poplar Farm arson

issued a communique attributing the fire, along with the University of Washington fire described

below, to the Earth Liberation Front (ELF). The communique was publicized by Craig

Rosebraugh of the North American ELF Press Office.

       20.     On or about May 2 1, 2001, at Seattle, Washington, in the Western District of

Washington, defendants STANISLAS GREGORY MEYERHOFF, CHELSEA DAWN

GERLACH, unindictled co-conspirator WILLIAM C. RODGERS, and other persons unlawfully

and willfully caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of a building and other

real and personal property used in interstate commerce and in activities affecting interstate

commerce, at the University of Washington Horticulture Center, Seattle, Washington.

       20a.    At a time prior to May 2 1,2001, defendant STANISLAS GREGORY

MEYERHOFF, unindicted co-conspirator WILLIAM C. ROGERS and other persons performed


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one or more reconnaissances of the University of Washington Horticulture Center, Seattle,

Washington.

       20b.    On or about June 1,2001, certain defendants in the University of Washington

arson issued a communique attributing the fire, along with the Jefferson Poplar Farm fire

described above, to the Earth Liberation Front (ELF). The communique was publicized by Craig

Rosebraugh of the North American ELF Press Office.

       2 1.    On or before May 28,200 1, defendant STANISLAS GREGORY MEYERHOFF

and unindicted co-conspirator WILLIAM C. RODGERS authored and published a document

entitled "Setting Fire with Electrical Timers, an Earth Liberation Front Guide" in order to expose

to a widespread audience their methods of operation and the design of the "Cat's Cradle"

incendiary device so that it would no longer be unique to the arsons committed by "the Family,"

thereby hindering detection by law enforcement.

       22.     On or about October 15, 2001, at Litchfield, California, in the Eastern District of

California, defendants STANISLAS GREGORY MEYERHOFF, JOSEPH DIBEE, REBECCA

RUBIN, KEVIN TUB;BS, CHELSEA DAWN GERLACH, DARREN TODD THURSTON,

unindicted co-conspirator WILLIAM C. RODGERS, and other persons unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced and procured the malicious damaging

and destroying, by means of fire and explosives, of buildings and other real and personal property

owned and possessed by the United States and the Bureau of Land Management of the

Department of the Interior, located at the Wild Horse Facility, Litchfield, Califomia.




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       22a.    On or about October 15,2001, defendant STANISLAS GREGORY

MEYERHOFF and other persons placed time-delayed incendiary devices at and about the

Litchfield Wild Horse Facility.

       22b.    On or about October 30, 2001, certain defendants in the Litchfield Wild Horse

Facility arson issued a communique attributing the fire to the Earth Liberation Front (ELF). The

communique was publicized by David Barbarash at the North American ALF Press Office.

       All of the above conduct violated Title 18, United States Code, Section 371.

                                             COUNT 2

                         ARSON - OAKRIDGE RANGER STATION

       On or about October 30, 1996, in Lane County, Oregon, in the District of Oregon,

defendants JOSEPHINE SUNSHINE OVERAKER and KEVIN TUBBS, and another person

known to the Grand Jury, unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced,, and procured the malicious damaging and destroying, by means of fire and

an explosive, of a building and other real and personal property owned and possessed by the

United States and the United States Forest Service of the Department of Agriculture, located at

the Oakridge Ranger Station on the Willamette National Forest; all in violation of Title 18,

United States Code, Sections 844(f) and 2.

                                             COUNT 3

                                   ARSON - CAVEL WEST

       On or about July 2 1, 1997, at Redmond, Deschutes County, Oregon, in the District of

Oregon, defendants KEVIN TUBBS, JOSEPH DIBEE, and JONATHAN CHRISTOPHER

MARK PAUL, and other persons known to the Grand Jury, unlawfully and willfully caused and


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aided, abetted, counseled, commanded, induced, and procured the malicious damaging and

destroymg, by means of fire and an explosive, of a building and other real and personal property

used in interstate commerce and in activities affecting interstate commerce, at Cave1 West, Inc.,

1607 SE Railroad, Redmond, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                            COUNT 4

                ARSON - BLM WILD HORSE FACILITY, BURNS, OREGON

       On or about November 30, 1997, in Harney County, Oregon, in the District of Oregon,

defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS and REBECCA RUBIN,

unindicted co-conspirator WILLIAM C. RODGERS, and another person known to the Grand

Jury, unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of buildings

and other real and personal property owned and possessed by the United States and the Bureau of

Land Management of the Department of the Interior, located at the Wild Horse and Burro

Facility, Bums, Harney County, Oregon; all in violation of Title 18, United States Code, Sections

844(f), 844(i) and 2.

                                           COUNT 5

                    ATTEMPTED ARSON - U.S. FOREST INDUSTRIES
                    -

       On or about December 22, 1998, at Medford, Jackson County, Oregon, in the District of

Oregon, defendant KENDALL TANKERSLEY, KEVIN TUBBS, and REBECCA RUBIN, and

another person known to the Grand Jury, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the attempt to damage or destroy, by means of


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fire and an explosive, a building and other real and personal property used in interstate commerce

and used in activities affecting interstate commerce, namely, an office building and its contents at

U.S. Forest Industries, 261 1 Whittle Avenue, Medford, Jackson County, Oregon; all in violation

of Title 18, United States Code, Sections 844(i) and 2.

                                            COUNT 6

                          ARSON - CHILDERS MEAT COMPANY

       On or about May 9, 1999, at Eugene, Lane County, Oregon, in the District of Oregon,

defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF and CHELSEA DAWN GERLACH, and other persons known to the Grand Jury,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and in activities affecting

interstate commerce, at Childers Meat Company, 29476 Airport Road, Eugene, Oregon; all in

violation of Title 18, United States Code, Sections 844(i) and 2.

                                            COUNT 7

                         ARSON - EPD PUBLIC SAFETY STATION

       On or about September 6,2000, at Eugene, Lane County, Oregon, in the District of

Oregon, defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS and CHELSEA

DAWN GERLACH unlawfully and willfully caused and aided, abetted, counseled, commanded,

induced, and procured the malicious damaging and destroying, by means of fire and an explosive,

of a building and other real and personal property used in interstate commerce and in activities

affecting interstate commerce, at the Eugene Police Department West University Public Safety


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Station, 79 1 East 13thAvenue, Eugene, Lane County, Oregon; all in violation of Title 18, United

States Code, Sections 844(i) and 2.

                                            COUNT 8

                         ARSON - SUPERIOR LUMBER COMPANY

       On or about January 2, 2001, at Glendale, Douglas County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN and SUZANNE SAVOIE, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property used in interstate

commerce and used in activities affecting interstate commerce, namely, a building and its

contents located at Superior Lumber Company, 2695 Glendale Valley Road, Glendale, Douglas

County, Oregon; all in violation of Title 18, United States Code, Sections 844(i) and 2.

                                            COUNT 9

            ARSON .- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

       On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26U41G209163, located at Romania Chevrolet Truck Center, 1425 Walnut Street,




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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 10

             ARSON -. ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEK13T7 1Rl54866, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 11

             ARSON .- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26G8 1G235050, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 12

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroyng, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26G81G203 103, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County.,Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 13

             ARSON ,- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about M.arch 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T3 1Gl974;72, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 14

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TlJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEKl3TOl J18 1082, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 15

             ARSON .- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TTJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEK13T4 1R110162, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 16

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEK13T3 1J 150960, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County. Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 17

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYAhMA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 200 1 Suburban, bearing Vehicle Identification Number

3GNFK16T71G228593, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County,, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 18

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

lGNEK13T51R148547, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 19

             ARSON -- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T7 1G226598, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 20

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T7 1G23O 1'79, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 21

             ARSON -- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVTN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEKl3T8 lRl694!JO, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 22

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYAhWA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26G2 1G201069, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 23

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TXl G206720, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 24

             ARSON -. ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T91G226.585, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 25

             ARSON .- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 200 1 Suburban, bearing Vehicle Identification Number

3GNFK16T6 1G2298 16, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County., Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 26

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TlJJBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26U21G180066, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 27

             ARSON ,- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 200 1 Suburban, bearing Vehicle Identification Number

3GNGK26U8 1G18 1349, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County., Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 28

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEKl3T8 1Rl60806, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 29

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TTBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, -namely,a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TOlG1556.50, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County,, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 30

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TOlG2068:38, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 31

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TLTBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroymg, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T31G195205, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 32

             ARSON ,- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TTJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commande:d, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TX1G225834, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County,, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 33

             ARSON ,- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about M:arch 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TTJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commande:d, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

1GNFK16T2 15242612, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County,,Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 34

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 200 1 Suburban, bearing Vehicle Identification Number

3GNGK26U8 1GI926 12, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 35

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEKl3T7 l R l l 6 3 89, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 36

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T91G189098, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 37

             ARSON ,- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TO 1G198403, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 38

             ARSON .- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEKl3TOl Jl83320, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 39

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TTJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T9 1G2O7 194, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 40

             ARSON .- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TIJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosi\~e,of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T8 lGl93241, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 41

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TT33BS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T 11 6 1056:29, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 42

             ARSON .- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TTJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroymg, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26U8 1Gl79567, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County,,Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 43

             ARSON ,- ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TTJBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26G2 1G2 15392, located at Romania Chevrolet Truck Center, 1425 Walnut Street,


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Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                           COUNT 44

          ATTEMPTED ARSON - JEFFERSON POPLAR FARM MAIN OFFICE

         On or about May 21, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISL'4S GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the attempt to

damage or destroy, by means of fire and an explosive, a building and other real and personal

property used in interstate commerce and used in activities affecting interstate commerce,

namely, the main offke building and its contents located at Jefferson Poplar Farm, 791 14 Collins

Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code,

Sections 844(i) and 2.

                                           COUNT 45

                 ARSON - JEFFERSON POPLAR FARM - VEHICLE SHOP

         On or about May 2 1, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and arded, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a building and other real and


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personal property used in interstate commerce and used in activities affecting interstate

commerce, namely, a vehicle shop and its contents located at Jefferson Poplar Farm, 791 14

Collins Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States

Code, Sections 844(i) and 2.

                                           COUNT 46

                ARSON - JEFFERSON POPLAR FARM - SHOP & OFFICE

       On or about M.ay 2 1, 200 1, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISL.4S GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a building and other real and

personal property used in interstate commerce and used in activities affecting interstate

commerce, namely, a shop and office building and its contents located at Jefferson Poplar Farm,

791 14 Collins Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United

States Code, Sections 844(i) and 2.

                                           COUNT 47

                    A:RSON
                    -          - JEFFERSON POPLAR FARM - VEHICLE
       On or about May 21, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISL.AS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully


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and willfully caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of a vehicle used in

interstate commerce and used in activities affecting interstate commerce, namely, a 1997 Ford

truck bearing Oregon license number VHQ 660, located at Jefferson Poplar Farm, 791 14 Collins

Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code,

Sections 844(i) and 2.

                                          COUNT 48

                   ARSON - JEFFERSON POPLAR FARM - VEHICLE

       On or about May 21, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully

and willfully caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of a vehicle used in

interstate commerce and used in activities affecting interstate commerce, namely, a 1984 Ford

truck bearing Oregon license number CXR 901, located at Jefferson Poplar Farm, 791 14 Collins

Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code,

Sections 844(i) and 2.

                                          COUNT 49

                   ARSON - JEFFERSON POPLAR FARM - VEHICLE
                   -

       On or about May 21, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD


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McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1997 Ford truck

bearing Oregon license number VHQ 661, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                           COUNT SO

                   ARSON
                   -         - JEFFERSON POPLAR FARM - VEHICLE
       On or about May 2 1, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISL AS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1997 Ford truck

bearing Oregon license number VNS 404, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

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                                          COUNT 51

                   ARSON - JEFFERSON POPLAR FARM - VEHICLE
                   -

       On or about May 2 1, 200 1, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1996 Ford truck

bearing Oregon license number UMZ 923, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                          COUNT 52

                   AIRSON - JEFFERSON POPLAR FARM - VEHICLE
                   -

       On or about May 2 1,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISL,$S GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1990 Ford truck

bearing Oregon license number 283 ACE, located at Jefferson Poplar Farm, 791 14 Collins Road,


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Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                          COUNT 53

                   ARSON - JEFFERSON POPLAR FARM - VEHICLE
                   -

       On or about May 21, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISL AS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1990 Ford truck

bearing Oregon license number 282 ACE, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                          COUNT 54

                   A.RSON
                   -         - JEFFERSON POPLAR FARM - VEHICLE
       On or about May 2 1, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISL.AS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate


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commerce and used in activities affecting interstate commerce, namely, a 1990 Ford truck

bearing Oregon license number 361 ACC, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                           COUNT 55

                   ARSON - JEFFERSON POPLAR FARM - VEHICLE

       On or about May 2 1, 200 1, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISL,4S GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1981 GMC truck

bearing Oregon license number NA41574, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                          COUNT 56

                   ARSON - JEFFERSON POPLAR FARM - VEHICLE
                   -

       On or about May 21, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and


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willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1989 Ford truck

bearing Oregon license number PWV 249, at Jefferson Poplar Farm, 79 114 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

       Dated this ~--n x a ~ o fd+             , 2006.
                                       I
                                                    KARIN J. IMMERGUT
                                                    United States Attorney
                                                    District of Oregon



                                                    KIRK A. E N G D A L ~
                                                    Assistant United States Attorney




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